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  EXHIBIT 82
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                                                                        Page 1

1                    UNITED STATES DISTRICT COURT
2              FOR THE SOUTHERN DISTRICT OF NEW YORK
3       MARVEL CHARACTERS, INC.,
4            Plaintiff and
             Counterclaim-Defendant,
5
                    vs.                     Case No. 1:21-cv-7955-LAK
6                                           and consolidated cases
        LAWRENCE D. LIEBER,                 21-cv-7957-LAK and
7                                           21-cv-7959-LAK
             Defendant and
8            Counterclaimant.
        ____________________________
 9      MARVEL CHARACTERS, INC.,
10           Plaintiff and
             Counterclaim-Defendant,
11
                    vs.
12
        KEITH A. DETTWILER, in his
13      capacity as Executor of the
        Estate of Donald L. Heck,
14
             Defendant and
15           Counterclaimant.
        ____________________________
16      MARVEL CHARACTERS, INC.,
17           Plaintiff and
             Counterclaim-Defendant,
18
                    vs.
19
        PATRICK S. DITKO, in his
20      capacity as Administrator of
        the Estate of Stephen J.
21      Ditko,
22           Defendant and
             Counterclaimant.
23      ____________________________
24
25      caption(cont'd)

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                                                                        Page 2

1                   ZOOM DEPOSITION OF JAMES F. STERANKO
2       (Reported Remotely via Video & Web Videoconference)
3             Reading, Pennsylvania (Deponent's location)
4                        Friday, February 10, 2023
5                                     Volume 1
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        STENOGRAPHICALLY REPORTED BY:
21      REBECCA L. ROMANO, RPR, CSR, CCR
        California CSR No. 12546
22      Nevada CCR No. 827
        Oregon CSR No. 20-0466
23      Washington CCR No. 3491
24      JOB NO. 5753867
25      PAGES 1 - 108

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                                                                        Page 3

1                   UNITED STATES DISTRICT COURT
2              FOR THE SOUTHERN DISTRICT OF NEW YORK
3       MARVEL CHARACTERS, INC.,
4            Plaintiff and
             Counterclaim-Defendant,
5
                    vs.                     Case No. 1:21-cv-7955-LAK
6                                           and consolidated cases
        LAWRENCE D. LIEBER,                 21-cv-7957-LAK and
7                                           21-cv-7959-LAK
             Defendant and
8            Counterclaimant.
        ____________________________
 9      MARVEL CHARACTERS, INC.,
10           Plaintiff and
             Counterclaim-Defendant,
11
                    vs.
12
        KEITH A. DETTWILER, in his
13      capacity as Executor of the
        Estate of Donald L. Heck,
14
             Defendant and
15           Counterclaimant.
        ____________________________
16      MARVEL CHARACTERS, INC.,
17           Plaintiff and
             Counterclaim-Defendant,
18
                    vs.
19
        PATRICK S. DITKO, in his
20      capacity as Administrator of
        the Estate of Stephen J.
21      Ditko,
22           Defendant and
             Counterclaimant.
23      ____________________________
24
25      caption(cont'd)

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                                                                        Page 4

1                   DEPOSITION OF JAMES F. STERANKO, taken on
2       behalf of the Plaintiff and Counterclaim-Defendant,
3       with the deponent located in Reading, Pennsylvania,
4       commencing at 12:53 p.m., Friday,
5       February 10, 2023, remotely reported via Video &
6       Web Videoconference before REBECCA L. ROMANO, a
7       Certified Shorthand Reporter, Certified Court
8       Reporter, Registered Professional Reporter.
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                                                                        Page 5

1                              APPEARANCES OF COUNSEL
2       (All parties appearing via Web Videoconference)
3
4       For the Plaintiff and Counterclaim-Defendant:
5               O'MELVENY & MYERS LLP
6               BY:   MOLLY M. LENS
7               BY:   MATTHEW KAISER*Admitted pro hac vice
8               Attorneys at Law
9               1999 Avenue of the Stars
10              8th Floor
11              Los Angeles, California 90067
12              (310) 553-6700
13              mlens@omm.com
14              mkaiser@omm.com
15
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25      /////

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                                                                        Page 6

1                          APPEARANCES OF COUNSEL
2       (All parties appearing via Web Videoconference)
3
4       For the Defendant and Counterclaimant and Deponent:
5               TOBEROFF & ASSOCIATES, P.C.
6               BY:   MARC TOBEROFF
7               BY:   JAYMIE PARKKINEN
8               Attorneys at Law
9               23823 Malibu Road
10              Suite 50-363
11              Malibu, California 90265
12              (310) 246-3333
13              info@toberoffandassociates.com
14
15
16
17      ALSO PRESENT:
18              Soseh Kevorkian, Videographer
19
20
21
22
23
24
25      /////

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1                                   I N D E X
2       DEPONENT                                                   EXAMINATION
3       JAMES F. STERANKO                                                   PAGE
        VOLUME 1
4
5                                 BY MS. LENS                                     12
6                                 BY MR. TOBEROFF                                 89
7                                 BY MS. LENS                                     96
8
9
10                             E X H I B I T S
11      NUMBER                                                              PAGE
12                                DESCRIPTION
13      Exhibit 116     Declaration of James F.                                   18
14                      Steranko in Support of
15                      Defendants' Motion for
16                      Summary Judgment and
17                      Defendant's Opposition to
18                      Plaintiffs' Motion for
19                      Summary Judgment;
20
21      Exhibit 117     Expert Report of Jim                                      55
22                      Steranko, STERANKO-0001 -
23                      STERANKO-0018;
24
25      /////

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1                         E X H I B I T S(cont'd)
2       NUMBER                                                              PAGE
3                                 DESCRIPTION
4       Exhibit 118     Declaration of James Steranko                             65
5                       in Support of Plaintiffs'
6                       Supplemental Brief Submitted
7                       Pursuant to the Court's July
8                       27, 2007 Order;
9
10      Exhibit 119     Special Character Agreement,                              71
11                      2021MARVEL-0125747 -
12                      2021MARVEL-0125755l
13
14      Exhibit 120     Fantastic Fanzine 11,                                     76
15                      STERANKO-0155 -
16                      STERANKO-0205;
17
18      Exhibit 121     Rolling Stones Article,                                   84
19                      2021MARVEL-0069717 -
20                      2021-MARVEL-0069725.
21
22
23
24
25      /////

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                                                                      Page 25

1              Q.    I appreciate that.
2                    In what year did you begin working with
3       Marvel?
4              A.    It might have been around 1965 or '6 and
5       I was with them for three years and maybe beyond
6       that on a more regular basis for -- well, actually
7       that could have gone on for another -- maybe for
8       another ten years.
9              Q.    And so do I understand correctly that
10      around 1965 or 1966 thereabouts for a period of
11      about three years you worked for Marvel on a
12      regular basis?
13                   MR. TOBEROFF:         Objection as to form.
14      Assumes facts.
15             Q.    (By Ms. Lens)         You can answer.
16                   MR. TOBEROFF:         You can answer.
17                   THE DEPONENT:         I did work for Marvel for
18      three years.      Additionally, I had two other
19      full-time jobs.
20             Q.    (By Ms. Lens)         And after the period where
21      you were working with Marvel regularly for -- for
22      that three-year period, do I understand correctly
23      that you would do occasionally one-off jobs
24      thereafter, like for certain covers for comic
25      books?

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1                    MR. TOBEROFF:          Objection as to form.
2                    THE DEPONENT:          Yes, I did engage in
3       freelance work.
4              Q.    (By Ms. Lens)          And during the three-year
5       period where you were working with Marvel while as
6       you said having other -- I think you said other
7       full-time -- two other full-time jobs.
8                    Who were you working with --
9                    MR. TOBEROFF:          Objection as to form.
10             Q.    (By Ms. Lens)          -- at Marvel?
11             A.    Would you clarify that question, please?
12             Q.    Sure.
13                   During the period where you were working
14      regularly with -- with Marvel, do I understand
15      correctly that Roy Thomas was the editor in chief?
16                   MR. TOBEROFF:          Objection as to form.
17      Lacks foundation.
18                   THE DEPONENT:          Stan Lee was the editor,
19      T-H-E, capital T-H-E.            Roy was as far as I know an
20      assistant editor.
21             Q.    (By Ms. Lens)          Thank you.
22                   Did you work with Steve Ditko while you
23      were with Marvel?
24             A.    No.
25             Q.    Did you work with Gene Colan while you

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1                    THE DEPONENT:         They may have appeared in
2       other Marvel comics, but before I created them,
3       they appeared nowhere.           Because they didn't exist.
4                    I created them specifically for -- for --
5       for these couple of books and they -- they
6       certainly had been used since then in other books
7       without my -- without my working on them.
8              Q.    (By Ms. Lens)         Certainly didn't appear in
9       any books prior to you creating them, correct,
10      Mr. Steranko?
11                   MR. TOBEROFF:         Objection as to form.
12      Misstates his testimony.            Asked and answered.
13                   THE DEPONENT:         You are correct.
14             Q.    (By Ms. Lens)         Thank you.
15                   I don't believe I finished going through
16      some of my questions about the specific
17      contributors involved in the current litigation.
18                   Did -- did you know Steve Ditko?
19             A.    No.
20             Q.    How about Gene Colan, did you know him?
21                   MR. TOBEROFF:         Objection.        Asked and
22      answered.
23                   THE DEPONENT:         Can I ask you to define
24      the word "know," Molly?
25             Q.    (By Ms. Lens)         Well, I think I mean it in

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1              I, Rebecca L. Romano, a Certified Shorthand
2       Reporter of the State of California, do hereby
3       certify:
4              That the foregoing proceedings were taken
5       before me remotely at the time and place herein set
6       forth; that any deponents in the foregoing
7       proceedings, prior to testifying, were administered
8       an oath; that a record of the proceedings was made
9       by me using machine shorthand which was thereafter
10      transcribed under my direction; that the foregoing
11      transcript is true record of the testimony given.
12             Further, that if the foregoing pertains to the
13      original transcript of a deposition in a Federal
14      Case, before completion of the proceedings, review
15      of the transcript [ ] was [X] was not requested.
16             I further certify I am neither financially
17      interested in the action nor a relative or employee
18      of any attorney or any party to this action.
19             IN WITNESS WHEREOF, I have this date
20      subscribed my name.
21
22      Dated:      February 23, 2023
23
                                           <%7321,Signature%>
24
                                   Rebecca L. Romano, RPR, CCR
25                                 CSR. No 12546

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